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MARKETS

Hedge-Fund Priest: Thou Shalt Make Money

Greek Orthodox priest boasts of ability to ‘crash’ stocks

By Rob Copeland
Updated Oct. 28, 2015 3:45 pm ET

KEENE, N.H.—The Rev. Emmanuel Lemelson says his life changed forever when he discovered
the good book.

That would be “The Intelligent Investor,” Benjamin Graham’s dense tome on the ins and outs of
Wall Street investing.

There are thousands of hedge funds in the world, but only one is run by a traveling priest who
boasts of his ability to “crash” stocks in between baptisms, funerals and Sunday sermons in this
bucolic New Hampshire town.

“My whole life I always knew things before they happened. I guess it’s just a gift from God,” said
Mr. Lemelson, 39 years old.

So far he is hardly the second coming of George Soros. His fledgling Amvona Fund LP is a blip in
a $3 trillion universe where anyone can call themselves a hedge-fund manager, most anyone
can market themselves as one and it is possible to operate with almost no official scrutiny.

This man of the cloth has earned enough—millions of dollars in the past few years for the firm’s
general partnership, according to audited investor documents—to live a distinct double life.

Late last month, he donned his clerical collar to offer opening prayers and a personal blessing at
a town-hall meeting here for Donald Trump, the Republican presidential candidate who has
made raising taxes on hedge-fund managers a campaign centerpiece.

Mr. Lemelson said he didn’t make Mr. Trump aware of his other profession. A spokeswoman for
Mr. Trump declined to comment.

Like many would-be Wall Street stars, Mr. Lemelson considers himself a disciple of financial
near-deities—value investors like Warren Buffett. Their overriding commandment: Thou shalt
not overpay.

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Three-year-old Amvona manages around $20 million, or double that including the use of

leverage, or borrowed money. It charges a 25% performance fee—well above the hedge-fund
norm.

Mr. Lemelson usually wagers on relatively unknown individual stocks rising, like seismic-
equipment-technology maker Geospace Technologies Corp. That has been a winning strategy
for a few years running as small-capitalization stocks saw steady gains. It returned a total of
150% from inception to mid-2015, according to audited returns and investment documents,
roughly triple the pace of the S&P 500, including dividends, during the same period.

Eager to expand, Mr. Lemelson took the unusual step last year of issuing a press release lauding
that his was among the top five funds in the BarclayHedge database that ranks hedge-fund
managers by their performance.

The Rev. Emmanuel Lemelson
PHOTO: SHIHO FUKADA FOR THE WALL STREET JOURNAL

Amvona’s biggest position, Apple Inc., however, has been under fire in recent months and the
manager is now suffering his first extended string of losses, people familiar with the matter
said. The fund was down 3% in the first half of this year and had lost double-digits
percentagewise at a point last month. The fund stopped reporting performance to
BarclayHedge this summer.

Mr. Lemelson said he asks his investors, who include 14 families, to follow two rules: Pray for
the fund and disregard short-term performance. He won’t discuss investment results past June.

“I don’t know everything he invests in, and I don’t want to know,” said Bob Resinger, a retired
telecommunications manager and investor in the fund. He said he trusts Mr. Lemelson because
of “what he stands for.”

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Hedge funds with under $150 million in assets are exempt from regular compliance

examinations from the Securities and Exchange Commission.

The reverend was born Gregory Lemelson to a Jewish father and Christian mother. Inspired by
a college professor who was a priest, he attended seminary at the Holy Cross Greek Orthodox
School of Theology to become a priest.

He was ordained years later by a Turkish archbishop, who later invested his church’s money in
the Amvona fund.

“He doesn’t belong to us,” said Chancellor Theodore Barbas of the Boston Metropolis, which
oversees the faith in New England. Mr. Barbas said he has at times allowed Mr. Lemelson to fill
in temporarily at New England churches that don’t have a full-time priest.

The reverend’s capitalist turn has some detractors.

“He’s not paying much attention to the Fathers of the Church, all of whom said it was very
dangerous to be rich,” said Vanderbilt Divinity School professor Douglas Meeks, a Methodist
minister. “He shouldn’t trade on his priestly or pastoral position.”

The Saint George Greek Orthodox Church here in Keene, where a wheezing window air
conditioner strains to cool the sanctuary, has hosted Mr. Lemelson on and off for a few months.
Until recently, parishioners were mostly confused as to how exactly the priest spends his spare
time.

“What does he do?” asked Maria Bradshaw, a 55-year-old homemaker, shortly after Mr.
Lemelson, clad in a gold robe, passed out antidoron, or blessed bread, at the front of the
congregation. She searched for the right word to describe a rumor she’d heard. “Capital?”

There were some signs of his wealth. Mr. Lemelson recently put up for sale his custom-built
7,000-square foot suburban Boston mansion after a five-year legal fight over the mortgage. His
wife makes the 90-minute drive to Keene in a white Cadillac Escalade sport-utility vehicle. He
collects motorcycles. He doesn’t follow up if the church forgets to pay his $300 weekly
honorarium every so often.

“Let’s not be poor because we’re pretending to be pious, when we really just couldn’t figure out
how to make a better living,” he said.

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Mr. Lemelson has spent much of his life looking to make a better living. Before ordination, he

ran a website, also called Amvona, selling discount photography equipment manufactured in
China. Amvona was sued in 2004 for copying a competitor’s patents; two years later, Amvona
accepted an offer of judgment against it and paid to end the case, court documents show.

Greek Orthodox priests are allowed to be married and hold secondary jobs. Mr. Lemelson, who
is married with four children, said he couldn’t afford to stay in the clergy without his hedge-
fund gig. He recalled the moment when he became serious about investing.

“T said, ‘They are going to have to bar me from the securities markets, because I would make too
much money,” he said.

He paused. “I’m not humble. I wish I were.”

Mr. Lemelson said that many saints were wealthy and were able to donate their earnings to the
less-fortunate—a model he calls “the supreme capital allocation decision” and plans to follow.

Working in part from his home office, surrounded by pictures of Christian icons like the Virgin
Mary, Mr. Lemelson uses public websites to whittle down potential stock investments and
sometimes runs his own discounted-cash-flow analyses. His part-time assistant is also a priest.

He borrows some rather secular techniques from activist investors and corporate raiders in
decades past.

Consider his missive against World Wrestling Entertainment Inc. as he shorted its shares in
March 2014—on St. Patrick’s Day. “Sans miracles,” he wrote in a public letter posted to a
popular investing website. “Is the brand worth 4,226% more than the S&P 500?”

“Am I crazy?” he said. “I don’t know.”
Corrections & Amplifications

The blessed bread in the Greek Orthodox Church is known as antidoron. An earlier version of
this article misspelled the term.

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